                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION

RONALD BERNARD,                                    )
                                                   )
                Plaintiff,                         )
                                                   )
vs.                                                )   Case No. 2:19-cv-04043-NKL
                                                   )
KANSAS CITY LIFE INSURANCE CO.,                    )
                                                   )
                Defendant.                         )
                                                   )

                    JOINT MOTION TO AMEND SCHEDULING ORDER
                           AND SUGGESTIONS IN SUPPORT

       COME NOW Plaintiff Ronald Bernard (“Plaintiff”) and Defendant Kansas City Life

Insurance Co. (“Defendant”) (hereinafter “the Parties”), and jointly move the Court for an

Order amending the Court’s Scheduling Order as follows: to extend the deadline for

filing their respective Suggestions in Opposition to Cross Motions for Summary

Judgment to and including Friday, December 6, 2019.

                              SUGGESTIONS IN SUPPORT

       In support of this Motion, the Parties respectfully state and suggest as follows:

       1.       The Court’s April 18, 2019 Scheduling Order (Docket No. 7), provides that

Cross Motions for Summary Judgment were originally due to be filed on or before

Tuesday, October 15, 2019.

       2.       On October 3, 2019, the Parties jointly filed a motion to amend the

Scheduling Order extending the time for the parties to file their respective Cross

Motions for Summary Judgment (Docket No. 11).




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       3.       On October 3, 2019, the Court granted the joint motion to amend the

Scheduling Order and extended the deadline for filing summary motions to Thursday,

October 31, 2019 (Docket No. 12).

       4.       Pursuant to the October 3, 2019 Order, the Parties’ respective

Suggestions in Opposition to Cross Motions for Summary Judgment are presently due

to be filed on or before November 21, 2019. The time for filing has not yet expired.

       5.       The Parties jointly move for an extension of time to and including Friday,

December 6, 2019 to file their respective Oppositions to Cross Motions for Summary

Judgment.

       6.       Further, because this is joint motion, no party will be prejudiced by

extending the Summary Judgment deadline.

       7.       The Parties do not seek this extension for the purposes of delay, but

rather in a good faith effort to fully address the issues raised by the Parties’ Cross

Motions for Summary Judgment.          The Parties require additional time to complete

preparation of their Suggestions in Opposition and have also adjusted the proposed

deadline to account for the impact of the Thanksgiving holiday week.

       8.       A proposed order is submitted with this motion.

       WHEREFORE, the Parties respectfully pray that the Court amend the Scheduling

Order and enter an Order setting Friday, December 6, 2019, as the filing deadline for

their respective Oppositions to Cross Motions for Summary Judgment, and that the

Court grant the Parties such other and further relief as the Court deems just and proper

in the premises.




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Dated this 10th day of November, 2019.



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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 19, 2019, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a notice of
electronic filing to the following:

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